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                                                                                                             TOKYO
         VIA ECF                                                                                           TORONTO


         Hon. Lorna G. Schofield
         United States District Court Judge
         Thurgood Marshall U.S. Courthouse
         40 Foley Square
         New York, NY 10007

                   RE:   US Airways, Inc. v. Sabre Holdings Corp., et al., No. 1:11-cv-02725,
                         Motion for Mistrial & Renewed Motion Regarding Sign-and-Sue Evidence

       Dear Judge Schofield:

               Sabre writes regarding two issues before the Court submits this case to the jury for
       deliberation. Sabre is not seeking oral argument on either issue.

              First, Sabre again respectfully requests that the Court allow Sabre to offer evidence
       regarding USAir’s self-described “sign-and-sue” strategy. When the Court denied Sabre’s
       motion (ECF No. 1191) to admit sign-and-sue evidence, the Court emphasized that USAir
       should not present evidence or argument regarding its subjective state of mind during the
       remainder of the trial and closing argument. (ECF No. 1194.) Despite this Court’s warning,
       USAir continued to place its state of mind at issue during closing arguments, and with sign-and-
       sue evidence excluded, Sabre was unable to rebut USAir’s misleading and highly prejudicial
       presentation.

               For example, after reciting the Court’s instruction that “[a] plaintiff is permitted to sign a
       contract containing anticompetitive terms and then sue for relief,” counsel for USAir argued to
       the jury in his summation that when “you’re dealing with a monopolist, your choice is pretty
       grim, and Sabre gave [USAir] three choices—you either sign a full content contract . . . or we’re
       going to kick you out of the Sabre system. [USAir] made a choice. They had to protect their
       business, they had to protect their employees, but that doesn’t mean under the Sherman Act
       that was a competitive, fair bargain.” (Trial Tr. 2387:9-21 (emphasis added).) Counsel for
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USAir continued: “[W]e cannot let monopolists force people to sign anticompetitive contracts.”
(Id. 2387:22-23 (emphasis added).) Again, in rebuttal, counsel for USAir argued to the jury that
USAir was forced to sign the 2011 Contract because USAir purportedly saw the alleged “threats”
Sabre made against other airlines, contending “that threat of doing the same thing to [USAir]
was enough for [USAir] to make a very hard choice—they signed the contract.” (Id. 2462:1-
10 (emphasis added.) Counsel continued that even if a party is “forced” to make “a very
difficult choice of putting your company at risk and signing an anticompetitive contract, you
can still come to court and complain. And that’s exactly what we’re doing.” (Id. 2462:10-16
(emphasis added); see also id. 2388:9-15 (contending that under the 2011 Contract, USAir was
allegedly “forced to pay a high price”).)

        Second, Sabre seeks a mistrial in light of USAir’s improper publication to the jury of a
highly prejudicial document—that was not in evidence and to which USAir knew Sabre had
objected—focusing on the words “smoking gun” and “antitrust.” (Id. 1904:10-13.) While Sabre
appreciated that the Court issued an instruction to the jury the following morning, Sabre seeks a
mistrial in light of the combination of the continued argument about US Air’s subjective state of
mind, unrebutted by balancing evidence, along with the implications that Sabre’s prior Chief
Executive Officer had a guilty conscience concerning antitrust issues.

      Accordingly, Sabre respectfully requests a mistrial and admission of evidence regarding
USAir’s “sign-and-sue” strategy.


                                             Respectfully submitted,

                                             /s/ Patrick Fitzgerald
                                             Patrick Fitzgerald
cc: Counsel for US Airways, Inc., via ECF
